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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- x

MICHAEL BINDAY,                                               :     Case No. 1:12-cr-00152-CM
                                                                             1:17-cv-04723-CM
        Petitioner

        - v. -                                                :

UNITED STATES OF AMERICA

        Respondent.                                           :

--------------------------------------------------------- x

              DEFENDANT MICHAEL BINDAY’S RENEWED MOTION
            FOR REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. § 3582

        Defendant, Michael Binday, renews his prior motion to reduce sentence pursuant to 18

U.S.C. § 3582(c)(1)(A)(i), Doc. 464. In the year since Mr. Binday’s prior motion was decided,

Mr. Binday’s circumstances have substantially changed in ways that demonstrate an increased risk

of contracting COVID-19, place him at greater risk of severe and potentially fatal complications

should he contract COVID-19, and result in him experiencing much more onerous conditions of

incarceration than are warranted for his sentence and risk level. Mr. Binday’s circumstances, and

the medical risks and hardships he faces, are extraordinary and compelling circumstances that

warrant his release. Additionally, legal developments subsequent to Mr. Binday’s conviction,

sentencing, and initial 2255 motion have called into the question the validity of the legal theory on

which he was convicted. While the government has taken the position that these issues are

procedurally barred, the First Step Act’s expansion of the Court’s compassionate release authority

provide the Court with an alternative mechanism to address these issues, which implicate the

fundamental fairness of Mr. Binday’s continued incarceration.
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       For these reasons, and the reasons set forth in the following Memorandum, it is respectfully

requested that the Court grant compassionate release, reduce Mr. Binday’s sentence to time served,

and order Mr. Binday’s immediate release. In the alternative, it is respectfully requested that the

Court reduce Mr. Binday’s sentence by a period of eighteen to twenty-four months to account for

the extremely onerous conditions of incarceration he has endured.

                                        MEMORANDUM

       Mr. Binday has already contracted COVID-19 once while in BOP custody, and he remains

at grave risk from potentially severe or even fatal complications should he do so again. While the

Court denied Mr. Binday’s prior motion to reduce sentence, Doc. 464, in the Compassionate

Release Order entered on July 16, 2020, Doc. 475, Mr. Binday’s circumstances have significantly

changed since that date. Notably, in July 2020, Mr. Binday received test results definitively

showing that he suffers from Type II Diabetes. 1 A letter from Mr. Binday’s physician explaining

the serious risk that COVID-19 presents to all individuals with diabetes, including Mr. Binday,

regardless of the stage or severity of the disease, is attached to this Motion as Exhibit A. Further,

in January 2021, Mr. Binday received biopsy results showing he suffers from Squamous Cell

Carcinoma. Cancer patients are also at elevated risk from COVID-19. Additionally, in November

2020, Mr. Binday was in a motor vehicle accident that took place on BOP grounds. Mr. Binday

was a passenger in a van driven by another inmate that was used to transport inmates from the

camp to the work locations. Mr. Binday lost consciousness in the accident and suffered from a

torn retina. Mr. Binday’s eye injury required surgery, and he has experienced complications from

this injury and the resulting surgery that require further treatment, put his vision in jeopardy, and



1
  Mr. Binday’s updated medical records were previously filed under seal as Sealed Exhibits B
(BOP Medical Records), C (Biopsy Results), and D (Communications Regarding Eye
Complications) to Docket Number 481.


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has left him currently functionally blind. These circumstances place Mr. Binday at substantially

more risk from COVID-19 than the typical prisoner. They have also resulted in Mr. Binday being

held under much more onerous conditions than are warranted for a non-violent first offender who

scores to a security level of Minimum and is designated to a camp, and who has a Minimal

PATTERN risk score. Further, the United States Supreme Court’s recent opinion in Kelly v.

United States, 140 S. Ct. 1565 (2020), calls into question the validity of the theory on which Mr.

Binday’s conviction rests. This is an additional factor in establishing the existence of extraordinary

and compelling circumstances in this case. Based on these new circumstances, Mr. Binday renews

his request for compassionate release.

I.     Background and Procedural History

       Mr. Binday was convicted following a jury trial of Conspiracy to Commit Mail and Wire

Fraud, Mail Fraud, and Wire Fraud in connection with an alleged scheme involving stranger-

owned life insurance (“STOLI”) policies. At the time of his conviction, Mr. Binday was 50 years

old. This was his first offense. PSR ¶ 51.

       Mr. Binday was sentenced on July 30, 2014, to concurrent sentences of 144 months (12

years) in prison on each count of conviction. Doc. 341. Mr. Binday has now served almost five

years in prison and has completed nearly half of his sentence if the good time he has earned is

taken into account.

       In May 2020, Mr. Binday filed a motion for compassionate release. Doc. 464. As Mr.

Binday’s initial motion for compassionate release explained, at the time the motion was filed, Mr.

Binday had received an initial hemoglobin A1c result that was indicative for Type II diabetes and

he was waiting for a second hemoglobin A1c test to definitively diagnose him with diabetes. Doc.

464 at 6; Doc. 475 at 9-10. The motion also described facial lesions that required examination by




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a specialist that had not been provided; painful hip, knee, back, and shoulder conditions; an

enlarged prostate; and migraine headaches. Doc. 464 at 6-7. While Mr. Binday’s compassionate

release motion was pending, he contracted COVID-19. Doc. 475 at 9-10

       In the initial Compassionate Release Order, the Court held that Mr. Binday’s medical

condition at the time of his initial motion did not constitute extraordinary and compelling

circumstances that warranted compassionate release. Doc. 475 at 13. The Court further held that

release was not warranted under the factors set forth in 18 U.S.C. Section 3553(a) in light of that

fact that at that point Mr. Binday had served less than one-third of his sentence. Id. at 16.

       On March 22, 2021, Mr. Binday filed a motion for reconsideration of the Order denying

his prior motion for compassionate release and renewed motion for compassionate release. Doc.

481. At the time of that filing, Mr. Binday had not exhausted his administrative remedies regarding

his renewed request for compassionate release. Mr. Binday also filed a motion to file his medical

records under seal. Doc. 480. The Court entered an endorsed order granting Mr. Binday’s motion

to file his medical records under seal. Doc. 482. In the same order, the Court declined to reconsider

its Order denying Mr. Binday’s prior compassionate release motion. The Court noted that the BOP

is “in the best position to assess whether [Mr. Binday’s] condition has materially changed,” and

acknowledged that Mr. Binday could file a new compassionate release motion once he had

exhausted his administrative remedies with the BOP.

       As discussed below, Mr. Binday’s medical situation is now markedly different than it was

when he filed his original compassionate release motion over one year ago, and Mr. Binday has

now exhausted his administrative remedies.

II.    Mr. Binday has exhausted his administrative remedies.

       Mr. Binday has exhausted his administrative remedies with the BOP.               Mr. Binday




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submitted a new administrative request to the BOP on Friday, February 26, 2021. Further, on

March 5, 2021, Mr. Binday’s counsel submitted a letter on Mr. Binday’s behalf requesting that the

BOP consider Mr. Binday for both compassionate release and home confinement under the

CARES Act.

       The BOP denied Mr. Binday’s request for home confinement. It stated that he is not

currently eligible for consideration for home confinement because he has “not yet completed a

sufficient portion of [his] sentence,” that is, at least 50% of his sentence.

       The BOP has not responded to Mr. Binday’s request that it file a motion for compassionate

release on his behalf. Because the BOP has not acted on Mr. Binday’s administrative request for

compassionate release after more than 30 days, that request is now exhausted under the terms of

18 U.S.C. § 3582(c)(1)(a).

III.   Extraordinary and compelling circumstances support compassionate release here.

       The Court should find that extraordinary and compelling circumstances exist here that

support compassionate release for Mr. Binday. Section 3582(c)(1)(A)(i) provides that the Court

may reduce a sentence upon a finding that “extraordinary and compelling reasons warrant such a

reduction,” if the Court finds that the reduction is consistent with the United States Sentencing

Commission’s applicable policy statements, and after considering the factors set forth in 18 U.S.C.

Section 3553(a). Congress directed the United States Sentencing Commission to promulgate a

policy statement describing “what should be considered extraordinary and compelling reasons for

sentence reduction, including the criteria to be applied and a list of specific examples.” 28 U.S.C.

§ 994(t). The resulting Sentencing Commission policy statement is found in U.S.S.G. Section

1B1.13. Application Note 1 to Section 1B1.13 identifies several specific circumstances that

present “extraordinary and compelling reasons” for a sentence reduction, such as the defendant’s




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terminal illness or age and medical condition, and includes a final provision that permits a

reduction of sentence for “other reasons” that are “extraordinary and compelling.” As explained

below, extraordinary and compelling reasons exist in Mr. Binday’s case under Application Note 1

subsection (D) because: (1) Mr. Binday is at high risk of potentially fatal complications from

COVID-19, and the prison environment generally, and Mr. Binday’s circumstances specifically,

leave him vulnerable to such an infection; and (2) new legal developments call into question the

validity of Mr. Binday’s conviction.

       A.      Mr. Binday’s medical condition and resulting vulnerability to severe and
               potentially fatal complications from COVID are an extraordinary and
               compelling circumstance.

       Mr. Binday’s medical history at the time was discussed in detail in his original

compassionate release motion. See Doc. 464 at 6-7. In the time since the filing of that motion,

there have been four significant developments in Mr. Binday’s medical condition.

       First, Mr. Binday has received the needed follow-up testing he was waiting for at the time

of his prior motion and has now been diagnosed with Type II Diabetes. See, e.g, Ex. B at 16, 24,

28, 232. The CDC has recognized that having “type 2 diabetes can make you more likely to get

severely ill from COVID-19.” CDC, “People with Certain Medical Conditions,” available at

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html.   While Mr. Binday’s diabetes has been relatively well-controlled so far, his

diabetes being well-managed does not eliminate the risk of COVID poses to him. Mr. Binday’s

physician, Jonathan A. Bradlow M.D., FACC, explains in the letter attached as Exhibit A that Mr.

Binday’s diabetes places him at “risk for complications of COVID-19 (this is a known increased

risk factor for severe disease).” Further, Dr. Bradlow explains, “There is no data that mild disease

has less risk than moderate or severe diabetes, as diabetes itself is a risk factor for complications




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of COVID-19. This has been clearly borne out in the studies (and CDC guidelines), with no study

showing that there is any relation of risk to glucose control.” Ex. A. For these reasons, Dr.

Bradlow concludes, “[t]he fact that [Mr. Binday] has diabetes places him at elevated risk.” Id.

       Relatedly, Mr. Binday suffers from severe hypercholesterolemia (also known as

hyperlipidemia, or high cholesterol). See, e.g., Ex. B at 18. According to Dr. Bradlow, Mr.

Binday’s severe hypercholesterolemia is caused by his diabetes. Ex. A. High cholesterol is itself

believed to increase COVID susceptibility. While the CDC has not at this point identified high

cholesterol as a COVID risk factor, early-stage research demonstrates that cholesterol plays a

critical role in the entry of the SARS-CoV-2 virus into cells, which may explain in part why the

elderly and those with certain underlying conditions associated with high cholesterol are so much

more vulnerable to the most severe effects of COVID-19. See Hao Wang, Zixuan Yuan, Mahmud

Arif Pavel, Scott B. Hansen, “The role of high cholesterol in age-related COVID19 lethality,”

(May 9, 2020), available at https://www.biorxiv.org/content/10.1101/2020.05.09.086249v2.

       Second, in January 2021, Mr. Binday was diagnosed as having Squamous Cell Carcinoma,

a form of skin cancer, on his face. See Ex. B at 15; Ex. C. As Mr. Binday’s original compassionate

release motion explained, when that motion was filed in May 2020, Mr. Binday had long been

requesting that the lesions on his face be evaluated. Doc. 464 at 6; see also Ex. B at 446. A biopsy

on the lesion on Mr. Binday’s face was finally performed in January 2021, and it was cancerous.

Ex. C. The CDC has recognized that “[h]aving cancer can make you more likely to get severely

ill from COVID-19” and that “having a history of cancer may increase your risk.” CDC, “People

with Certain Medical Conditions,” available at https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html. Mr. Binday remains at risk of

skin cancer. His dermatologist recommended, in a letter that was provided to the BOP in 2018,




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that due to Mr. Binday’s family history of skin cancer and his skin cancer risk factors, annual full

body skin checks should be performed in Mr. Binday. The letter from Mr. Binday’s dermatologist

is attached to this motion as Exhibit E. Despite this recommendation and Mr. Binday’s cancer

diagnosis, Mr. Binday has not been provided full body checks while in the BOP, with care being

limited only to sun-exposed areas, not including Mr. Binday’s scalp, which Mr. Binday has

notified his care providers contains two suspicious areas.

       Third, in November 2020, Mr. Binday was in a motor vehicle accident that resulted in him

losing consciousness and suffering a torn retina in his eye. Ex. B at 335. Mr. Binday required eye

surgery because of the injury. Id. He continues to experience complications in the injured eye

that are causing his vision to deteriorate. Ex. D. Mr. Binday’s eye surgeon informed him that the

surgical technique that was used to restore his retina would result in Mr. Binday developing a

cataract within six months to a few years. The expected cataract has already begun to form; it was

first measured at Mr. Binday’s eye doctor appointment on March 1, 2021. Mr. Binday’s eye doctor

has indicated that Mr. Binday’s eye will likely not be ready for another eye surgery for months,

subject to the opinion of the cataract surgeon. The BOP has not yet scheduled an appointment for

Mr. Binday with the cataract surgeon. The doctor treating Mr. Binday’s retina is weaning him

from eye drops that have been used to treat inflammation that was causing elevated pressure in his

eye (glaucoma), with the hope that the glaucoma will not reappear once he has stopped using the

drops. The need for Mr. Binday be off these eye drops for several months before his next eye

surgery is contributing to the uncertainty regarding the timing of that surgery.

       Mr. Binday additionally has an immediate need to see an optometrist who can test his eyes

for a new eyeglasses prescription and determine what level of correction he needs. His prescription

has worsened dramatically as a result of his eye injury and cataract. How well Mr. Binday will be




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able to see once he is able to obtain a new prescription is an open question. His cataract causes

darkness and cloudiness, and the surgery he had also causes wavy vision. Mr. Binday’s doctors

have informed him his vision once ultimately corrected to the degree possible may be significantly

impaired. He is currently functionally blind, and the discrepancy between the vision in his eyes

and the failure to provide eyeglasses that give the level of correction needed, causes him to suffer

from frequent migraine headaches. A letter from the ophthalmologist who treated Mr. Binday

before his incarceration is attached to this motion as Exhibit F.

        Mr. Binday has required frequent outside appointments to provide care for his injured eye.

See, e.g., Ex. B at 4, 10, 24, 34, 46, 52, 64, 67. Outside care is also needed for Mr. Binday’s

orthopedic condition, and particularly arthritis of his hip that has resulted in a labral tear (an injury

to the soft tissue that covers the hip socket). See, e.g. Ex. B at 97, 98-99, 151, 438.

        Every time Mr. Binday travels outside his facility to attend a medical appointment, he is at

increased risk for COVID transmission. Mr. Binday’s need for outside treatment has also

significantly worsened his conditions of confinement. Each time Mr. Binday has an outside

medical appointment, he is required to quarantine for two weeks in advance of the appointment

and to quarantine again after the appointment until a COVID test result comes back, which has

taken anywhere from a few days to as many as 17 days. Although Mr. Binday is a minimum-

security level prisoner and is designated to the satellite camp at FCI Otisville, while in quarantine,

he is confined at the Medium Security at FCI Otisville under conditions that are essentially solitary

confinement. Given the frequency of Mr. Binday’s medical appointments, this means he has been

in solitary confinement more or less continuously for months. As of the date of this filing, Mr.

Binday has spent at least 251 days in quarantine, with more anticipated in the near future.

        The changes in Mr. Binday’s medical condition and conditions of confinement are




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summarized in the following chart:




       Finally, as the Court is aware, while Mr. Binday’s original compassionate release motion

was pending, he contracted COVID-19. Doc. 475 at 9. Mr. Binday reported suffering symptoms

including tightness in his chest lasting several weeks, two to three weeks of gastrointestinal

symptoms, a severe headache that lasted several days, shortness of breath on any exertion, memory




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impairment, blurred vision, body aches, and a rash. Ex. B at 426-27. An EKG performed on Mr.

Binday during this time period showed heart rhythm abnormalities (an inverted T-wave). Ex. B

at 133. Mr. Binday was kept in solitary confinement for approximately 52 days during this time

period. Id. at 427. As a result of this, Mr. Binday has experienced a great deal of anxiety and

situational depression. Id. Further, myocarditis, or inflammation of the heart muscle, occurs in an

unknown number of COVID survivors. See “Myocarditis: A Potentially Dangerous Aftereffect

From     COVID-19,”       Clinical    Trials    Arena     (Jan.    28,     2021),   available    at

https://www.clinicaltrialsarena.com/comment/myocarditis-covid-19/. It is thus recommended that

patients who experience cardiac symptoms after recovering from COVID are screened for

myocarditis “to prevent and mitigate further complications.” Id.; see also Jordan D. Metzl, M.D.,

“Exercise After Covid-19? Take It Slow,” New York Times (Nov. 18, 2020) (“If you experienced

chest pain, shortness of breath or fatigue during your illness, you should see a cardiologist before

restarting sports activity.”) Because Mr. Binday has experienced chest pain, he has requested a

cardiac examination. This request has not been acted upon.

       Mr. Binday is also deeply concerned that if he is reinfected, the results will be worse or

even fatal. The CDC has acknowledged that reinfection is possible:

       CDC is aware of recent reports indicating that persons who were previously
       diagnosed with COVID-19 can be re-infected…. The immune response, including
       duration of immunity, to SARS-CoV-2 infection is not yet understood. Based on
       what we know from other viruses, including common human coronaviruses, some
       reinfections are expected. Ongoing COVID-19 studies will help establish the
       frequency and severity of reinfection and who might be at higher risk for
       reinfection….

CDC,     “FAQs:      Transmission,”     available    at    https://www.cdc.gov/coronavirus/2019-

ncov/hcp/faq.html#Transmission. Mr. Binday’s concern about reinfection is particularly pressing

in light of recent developments showing that prior infection may not protect against newly-




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identified COVID-19 variants. See. e.g., Chris Smith, “Brazilian Mutation Reinfected COVID-19

Survivors, Which Is Bad News For Vaccines,” BBC News (Mar. 2, 2021), available at

https://bgr.com/2021/03/02/coronavirus-reinfection-brazilian-mutation-risk-vaccines/;       Hannah

Miao, “Recovered COVID Patients Have Been Reinfected With New Virus Strains, WHO says,”

CNBC (Feb, 12, 2021), available at https://www.cnbc.com/2021/02/12/recovered-covid-patients-

have-been-reinfected-with-new-virus-strains-who-says.html.

       Further, the vaccine appears to be less effective against new coronavirus variants. Recent

data from Israel, for example, shows that the Pfizer vaccine’s efficacy drops to 64% with regard

to the Delta variant. Ivana Kottasová, “Pfizer vaccine protection takes a hit as Delta variant

spreads,    Israeli   government       says,”    CNN      (July    7,    2021),     available     at

https://www.cnn.com/2021/07/06/health/israel-pfizer-efficacy-delta-variant-intl/index.html.

Moreover, vaccine refusal has been widespread within the BOP, particularly among guards. AP,

“U.S. prison guards refusing vaccine despite COVID-19 outbreaks,” Modern Healthcare (Mar. 15,

2021) available at https://www.modernhealthcare.com/government/us-prison-guards-refusing-

vaccine-despite-covid-19-outbreaks. The combination of reduced vaccine efficacy and poor

vaccine acceptance within the BOP further reduces the protection vaccines may provide.

       The existence of new variants militates against counting on vaccination to protect Mr.

Binday against the virus while he remains in a prison setting. A recent “Perspective” article in the

New England Journal of Medicine also makes a compelling case that vaccination alone is not

sufficient to protect incarcerated people; instead, what is needed is “vaccination plus

decarceration.” See Benjamin A. Barsky, J.D., M.B.E., Eric Reinhart, B.A., Paul Farmer, M.D.,

Ph.D., and Salmaan Keshavjee, M.D., Ph.D., “Vaccination plus Decarceration — Stopping

COVID-19 in Jails and Prisons,” New England J. Medicine (Mar. 3, 2021), available at




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https://www.nejm.org/doi/full/10.1056/NEJMp2100609. As the article’s authors explain, “the

real-world effectiveness of vaccination programs depends on the context in which they are

implemented.” Id. Research has demonstrated that “even a highly efficacious vaccine will have

suboptimal preventive effects in high-spread, congregate settings.” Id. Preventing the spread of

COVID-19 therefore requires a strategy of combining vaccination with “a sustained commitment

to the public health practices and tools known to reduce the spread of Covid-19.” Id. (quoting

Paltiel AD, Schwartz JL, Zheng A, Walensky RP, “Clinical Outcomes of a COVID-19 Vaccine:

Implementation Over Efficacy,” 40 Health Aff. 42 (2020)). As applied to prisons, this means that

“[v]accination of incarcerated people … is not enough…. [I]t must be coupled with large-scale

decarceration to increase the real-world effectiveness of vaccination, disrupt wide-ranging viral

transmission chains, and turn off the epidemiologic pump that puts the health of all at risk from

mass incarceration.” Id.

       The district court in United States v. Ford, 2:10-CR-00292-01, 2021 WL 2786560 (W.D.

La. July 2, 2021), recently granted compassionate release to a defendant who is similar situated to

Mr. Binday. Like Mr. Binday, the defendant in Ford is in his mid-50s and suffers from diabetes

and hyperlididemia. Id. at *2. He had survived having COVID-19 while in prison, and he

continued to suffer from health effects as a result. Id. The court in Ford granted compassionate

release, recognizing that “[d]espite being vaccinated, because of his underlying condition of Type

2 diabetes, Ford remains vulnerable to new COVID-19 variants and is at a greater risk of severe

illness or death if he were to re-contract the virus.” Id.; see also United States v. Manglona, CR14-

5393RJB, 2021 WL 808386, at *1 (W.D. Wash. Mar. 3, 2021) (granting motion for compassionate

release on reconsideration to defendant who had been vaccinated; recognizing that COVID risk

had only been “reduced to an unknown degree” by the vaccination).




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       Mr. Binday’s compassionate release request should also be evaluated in the context of the

continuing series of outbreaks at Otisville FCI. The facility has had multiple waves of infections.

Continuing cases of COVID-19 at the facility, coupled with Mr. Binday’s preexisting medical

conditions, render him powerless to protect himself from the coronavirus.

       The Court should therefore recognize that Mr. Binday’s risk of potentially serious or fatal

complications of COVID-19 if he contracts it again presents extraordinary and compelling

circumstances. A number of courts have granted compassionate release to prisoners who have

faced similar health challenges as Mr. Binday. For example, the court in United States v. Topete,

305CR00257SLBHNJ15, 2021 WL 842547 (N.D. Ala. Mar. 5, 2021), granted compassionate

release to a defendant who is “obese, hypertensive, and has type 2 diabetes,” and had suffered

severe effects when previously infected with COVID-19. Id. at *6. The district court recognized

that the defendant was “clearly … at increased risk of getting a severe or fatal case of COVID-19

compared to the average American,” and that the prison environment made it impossible to take

the necessary precautions to protect his health. Id. at *7. It therefore held that the defendant’s

“health problems – when viewed through the lens of the current COVID-19 pandemic – support a

finding of “extraordinary and compelling” circumstances warranting compassionate release.” Id.

       The court in United States v. Armstrong, No. 18-cr-5108, 2020 WL 4366015 (S.D. Cal.

July 30, 2020), also granted compassionate release to a prisoner with diabetes, hypertension, and

high cholesterol who had tested positive for COVID-19 several months before. Like Mr. Binday,

the Armstrong defendant was concerned about the health risks of potentially becoming reinfected.

Id. at *1. The court recognized that “the medical evidence is still uncertain as to the effect of a

recovery on future infection.” Id. at *3.

       Similarly, the district court in United States v. Yellin, 3:15-CR-3181-BTM-1, 2020 WL




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3488738 (S.D. Cal. June 26, 2020), granted compassionate release to a defendant who had, among

other conditions, diabetes and “a low-grade progression of lymphoma,” and was in remission for

prostate cancer. Id. at *3. Although the Yellin defendant had recovered from COVID once, the

district court notes that “the possibility of reinfection persists.” Id. The district court noted that

“[t]his virus is so new that the scientific community does not yet have answers to whether

reinfection is possible,” and that if the defendant “were to be reinfected, his numerous underlying

medical conditions could make COVID-19 infection deadly for him.” Id.

       The district court in United States v. Davis, 06-20020-002, 2020 WL 4049980 (C.D. Ill.

July 20, 2020), also granted compassionate release to a defendant with diabetes, high cholesterol,

high blood pressure, and obesity. Id. at * 3. The district court noted that “the CDC recognizes

that it is possible for an individual who had COVID-19 to become infected again by the virus,”

and held that in light of defendants’s health conditions, the risk to his health should become

reinfected constituted extraordinary and compelling circumstances warranting compassionate

release. Id.; see also United States v. Meeks, 10-CR-20388-2, 2021 WL 869669, at *2 (E.D. Mich.

Mar. 9, 2021) (“Because there is no scientific evidence from which the Court can conclude that

Defendant cannot again contract the virus or that individuals with medical vulnerabilities face less

risk of serious outcomes when reinfected, the fact that Defendant tested positive for COVID-19

once before does not militate against finding that an extraordinary and compelling circumstance

exists”); United States v. Malufau, 474 F. Supp. 3d 1106, 1111 (D. Haw. 2020) (granting

compassionate release to defendant with obesity and diabetes, “factors which can substantially

increase risk of intensive care unit admission and death if he should contract COVID-19 again”).

       Mr. Binday has multiple significant health issues that place him at high risk of serious and

potentially fatal complications should he again contract COVID-19. The Court should hold that




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this serious risk to Mr. Binday’s life and health creates extraordinary and compelling

circumstances warranting compassionate release.

          B.      The United States Supreme Court’s opinion in Kelly v. United States and its
                  consequences for the validity of Mr. Binday’s conviction is an additional
                  extraordinary and compelling circumstance.

          In May 2020, after Mr. Binday’s conviction and sentencing, appeal, and 2255 proceedings

were concluded, the United States Supreme Court entered a unanimous opinion in Kelly v. United

States, 140 S. Ct. 1565 (2020), holding that the deceptive acts at issue in that case did not violate

the federal fraud statutes because they did not involve a “scheme … to obtain money or property.”

Id. at 1574. For the reasons explained in the initial compassionate release proceedings, Doc. 465,

Doc. 467, as well as in the motion Mr. Binday filed in this Court under 28 U.S.C. § 2241 and 28

U.S.C. § 2255, Doc. 479, the Kelly opinion significant undermines Mr. Binday’s conviction, given

that the evidence at trial was that Mr. Binday’s object was to buy insurance, not steal it, and the

commissions he earned were payments the insurers would make upon the sale of insurance

regardless of whether the insureds intend to sell their policies. 2 Indeed, the harms suggested by

the government and the Second Circuit in affirming Mr. Binday’s conviction were an “incidental

byproduct” of the type that will not support a fraud conviction. See Kelly, 140 S. Ct. at 1573 (a

“fraud conviction cannot stand when the loss to the victim is only an incidental byproduct of the

scheme”).

          Mr. Binday brought the Kelly opinion to the attention of the Court in connection with his

initial motion for compassionate release. Doc. 465, Doc. 467. In response to Mr. Binday’s

argument based on Kelly in connection with his initial compassionate release motion, the

government asserted that a compassionate release motion is not a proper vehicle to assert a claim



2
    Kelly also undermined the “right to control” theory, which remains an area of active litigation.


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of legal error that undermines the validity of the defendant’s conviction or sentence. Doc. 470 at

17-18. The Court agreed, holding that such a challenge to the validity of Mr. Binday’s conviction

could be asserted only through a direct appeal or habeas petition. Doc. 475 at 14 n.6.

       In March 2021, Mr. Binday filed a motion in this Court under 28 U.S.C. § 2241 and 28

U.S.C. § 2255 arguing that his convictions are invalid in light of Kelly. Doc. 479. This Court

transferred Mr. Binday’s motion to the Second Circuit Court of Appeals. Doc. 489. The Second

Circuit ordered the government to respond to a series of questions raised by Mr. Binday’s motion.

In the Second Circuit, the government has opposed Mr. Binday’s motion arguing, among other

things, that Kelly has not been made retroactive and that the claim Mr. Binday asserts is

procedurally barred because it could have been previously raised. Binday v. United States, Case

21-1206 (2d Cir.), Doc. 31 at 13, 19-20. Mr. Binday will reply to the government’s opposition on

August 10, 2021.

       In addition, in another case similar to Mr. Binday’s – where the defendants were convicted

of depriving the complainant of its “right to exclude” people from learning about its thought

process – the Supreme Court vacated the convictions and remanded to the Second Circuit to

reconsider its opinion in light of Kelly. Blaszczak v. United States, 141 S. Ct. 1040 (2021). On

remand, the government confessed error and asked the Second Circuit to vacate the convictions

and dismiss the indictments. United States v. Blaszczak, Case 18-2811, Doc. 497, 06/04/2021.

The Second Circuit has not yet ruled.

       While the Second Circuit has not yet decided Mr. Binday’s motion, the procedural bar the

government asserts in the Second Circuit proceeding does not preclude the Court from acting here

through the compassionate release process. While the Court correctly noted when it denied Mr.

Binday’s initial compassionate release motion that there was an absence of precedent at that time




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for treating a change in the law as grounds to find extraordinary and compelling circumstances,

Doc. 475 at 14 n.6, the law relating to compassionate release has developed significantly since,

and it is now clear that the law supports such grounds for compassionate release.

       Specifically, in United States v. Brooker, 976 F.3d 228 (2d Cir. 2020), the Second Circuit

held adopted the “majority position” “that the First Step Act freed district courts to exercise their

discretion in determining what are extraordinary circumstances.” Id. at 234. The Second Circuit

recognized district court’s “broad” “discretion in this area,” stating that “[t]he only statutory limit

on what a court may consider to be extraordinary and compelling” is that a compassionate release

decision may not be based on rehabilitation alone. Id. at 237-38.

       Notably, numerous federal courts have recognized their authority under the First Step Act

to grant compassionate release due to a change in the law, particularly in light of the amendment

of 18 U.S.C. Section 924(c)’s “stacking” provision. See, e.g., United States v. McCoy, 981 F.3d

271, 285 (4th Cir. 2020) (collecting cases); United States v. Marks, 455 F. Supp. 3d 17, 26

(W.D.N.Y. 2020) (collecting cases). Further, “there is a growing consensus among courts that

there are few if any limitations on what may be considered an extraordinary and compelling reason

warranting release, even those claims that have been rejected on direct appeal or collateral attack.”

United States v. Trexler, Case 1:92-cr-10369-WES (Doc. 805), at 34, attached as Exhibit G. The

district court in Trexler granted compassionate release based on a legal error that resulted in a

defendant improperly being sentenced to life in prison, even though the Court of Appeals had

concluded the defendant was procedurally barred from raising the error. Ex. G at 8-9, 36-37. As

the court in McCoy recognized, “while the finality of sentences is an important principle,

§ 3582(c)(1)(A), represents Congress's judgment that the generic interest in finality must give way

in certain individual cases, and authorizes judges to implement that judgment.” McCoy, 981 F.3d




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at 288 (citation and quotation omitted).

       For these reasons, the Supreme Court’s decision in Kelly, and the questions it raises

regarding the validity of Mr. Binday’s conviction, constitute an additional extraordinary and

compelling circumstance supporting compassionate release here.

                                                ***

       The Court should therefore hold that Mr. Binday has established extraordinary and

compelling circumstances and grant him compassionate release.

IV.    Mr. Binday does not pose a danger to the community and the Section 3553(a) factors
       support his release.

       The Court is further required to consider whether Mr. Binday presents a danger to the

community and whether compassionate release is consistent with the factors set forth in 18 U.S.C.

§ 3553(a). Examination of these factors shows compassionate release is appropriate here.

       The nature of Mr. Binday’s offense was non-violent.               Further, his history and

characteristics show he does not pose a risk of reoffending if released. Nor is he otherwise a danger

to the community. Mr. Binday’s PATTERN risk assessment score is “Minimal.” His BOP

disciplinary history has been minor and low-level. Significantly, Mr. Binday was a true first

offender when he committed his offense, which was a non-violent offense that took place when he

was in his forties. That is, prior to his arrest in this case, Mr. Binday had never been arrested or

charged with any crime. United States Sentencing Commission data demonstrates that true first

offenders like Mr. Binday are significantly less likely to recidivate, even than defendants who were

criminal history category I but who had prior contact with the criminal justice system. United

States Sentencing Commission, “The Past Predicts the Future: Criminal History and Recidivism

of Federal Offenders” (Mar. 2017), available at https://www.ussc.gov/research/research-

reports/criminal-history-and-recidivism-federal-offenders. Mr. Binday’s current age of 57 and the



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fact that he has graduated from college and has an advanced degree also demonstrates his low

recidivism risk. See USSSC, “The Effects of Aging on Recidivism Among Federal Offenders,” at

24, available at https://www.ussc.gov/research/research-reports/effects-aging-recidivism-among-

federal-offenders (the recidivism rate of released individuals “decreased with every step of

educational achievement” and “[e]very education group experienced a decline in rearrest rates as

age increase”).

       Along with having good conduct while in prison, Mr. Binday has also used his time in

prison to improve himself. Mr. Binday has completed over twenty educational courses over the

past year, despite the quarantine conditions, in addition to courses he had previously completed.

Mr. Binday’s Program Review, listing his educational course and other activities, is attached as

Exhibit H. Also included in Exhibit H are certificates of completion for several religious courses

Mr. Binday has completed that are not included in the list of educational courses.

       Additionally, Mr. Binday’s release plan will return him to the home he shares with his wife

and children. This location was previously approved by Pre-Trial Services for Mr. Binday’s pre-

trial release. Mr. Binday spent an extended period of time – approximately 4½ years – on pre-trial

release with no issues, further demonstrating the lack of risk his release would entail.

       Finally, Mr. Binday’s offense was a one-time situation that he would not repeat, nor could

he given that he is no longer licensed as an insurance agent and may never be again. Cf. United

States v. Prasad, CR 19-71, 2020 WL 2850147, at *3 (E.D. La. June 2, 2020) (granting

compassionate release where medically vulnerable physician defendant had served two months of

a 24-month sentence for conspiracy to unlawfully prescribe controlled substances and conspiracy

to commit health care fraud; noting that “[w]hile serious, [the defendant’s] offenses were non-

violent and are unlikely to recur because his medical license has been suspended.”) In sum, Mr.




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Binday presents no meaningful risk to the community or risk of recidivism.

       In the Court’s prior Compassionate Release Order, the Court emphasized the need for the

sentence imposed to provide just punishment and promote respect for the law and the fact that Mr.

Binday had at that time served only one-third of his sentence. Doc. 475 at 16. Now, over a year

later, Mr. Binday has served nearly half of his term of incarceration if the good time he has earned

is taken into account. Additionally, while implementation of the First Step Act is still in process,

if Mr. Binday were to receive 15 days of credit for every 30 days he has served since that statute

was enacted, he would receive an additional 16 months of credit.

       Further, the Court could not have anticipated at the time it sentenced Mr. Binday to a

twelve-year term in prison the harshness of the conditions of confinement he would be subjected

to. Mr. Binday scores Minimum security level, and he was designated to a camp. As discussed

above, however, due to circumstances entirely outside of Mr. Binday’s control, he has spent much

of the last year at a Medium security facility under solitary confinement conditions. Moreover,

the Court could also not have anticipated when it sentenced Mr. Binday that his incarceration

would place his life in grave danger. See United States v. Park, 456 F. Supp. 3d 557, 564 (S.D.N.Y.

2020) (district court expressing that while the defendant “deserve[d] to spend every day of the

sentence that she received in prison,” leaving her incarcerated “may convert a three-year prison

sentence into a death sentence. And that the Court cannot allow.”); see also Nancy Gertner

“Coronavirus can mean a death sentence to prisoners,” Boston Globe (May 5, 2020),

https://www.bostonglobe.com/2020/05/05/opinion/coronavirus-can-mean-death-sentence-

prisoners/?fbclid=IwAR1eDCgcU7wP7AGbs66iASf-

TXCr8aTpLOp6aVESWm4Oxqz6RgjidxrsSVk; Keegan Hamilton, Samir Ferdowsi & Rob

Arthur, “Prisoners Keep Dying of COVID While ‘Compassionate Releases’ Stall in Court,” Vice




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News (Mar. 18, 2021) (“At least 54 federal prisoners have died from COVID-19 after having a

compassionate release request denied or left pending.”) Regardless of the seriousness of Mr.

Binday’s offenses, his just deserts for that offense do not include death or potentially life-long

health effects.

        For precisely this reason, courts have granted compassionate release to defendants who

have served comparable or lower percentages of their sentences as Mr. Binday where the defendant

also faced heightened risk from COVID-19. The defendant in United States v. Common, 17-CR-

30067, 2020 WL 3412233 (C.D. Ill. June 22, 2020), was sentenced to 120 months in prison for

possession with the intent to distribute methamphetamine and possession of a firearm in

furtherance of a federal drug trafficking crime. Id. at *1. He had served 33 months when the

district court granted him compassionate release because he was medically vulnerable to severe

complications to COVID due to obesity, hypertension, and asthma, and had already contracted

COVID-19 once. Id. at *3-4. The district court held that this reduction in his sentence was

warranted because “the possibility of reinfection present[ed] a very real and immediate danger” to

the defendant. See also United States v. Grubbs, CR16-228 TSZ, 2020 WL 3839619, at *1 (W.D.

Wash. July 8, 2020) (granting compassionate release to child pornography defendant who had

served 33 months of 108-month sentence where conditions including diabetes, obesity,

hypertension, asthma, and “the lingering effects of [COVID-19]” placed him at risk if reinfected).

        Courts have also taken into account in granting a reduction in sentence the harsh conditions

of confinement the defendant has experienced. See, e.g., United States v. Bush, No. CR06-5504

BHS, 2021 WL 135869, at *3–4 (W.D. Wash. Jan. 14, 2021) (finding that Section 3553(a) “factor

relating to the ‘need for just punishment’ has dramatically shifted since sentencing” because “[t]he

lock-down measures” implemented “to mitigate the spread of the pandemic have made




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confinement much more punitive than was contemplated at sentencing”); United States v. Indarte,

No. CR17-5554 BHS, 2020 WL 6060299 (W.D. Wash. Oct. 14, 2020), at *4–5 (same); United

States v. Crawford, No. CR18-305 BHS, 2021 WL 409973, at *3–4 (W.D. Wash. Feb. 5, 2021)

(same). For example, Judge Engelmayer of the Southern District of New York granted a motion

for compassionate release in United States v. Lizardi, 11 Cr. 1032-55 (PAE) (S.D.N.Y. Oct. 9,

2020). The Lizardi compassionate release opinion is attached as Exhibit I. Judge Engelmayer

recognized that the defendant’s “term in custody has proven more arduous than the Court – or

anyone – could ever have anticipated” when the defendant was sentenced. Ex. I at 6. The court

noted that “[l]ong before the current pandemic, courts had recognized that periods of pre-sentence

custody spent in unusually arduous conditions merited recognition by courts in measuring the just

sentence.” Id. (collecting cases). It recognized that, “[t]he same logic applies here, stating:

     A day spent in prison under extreme lockdown and in legitimate fear of contracting a
     once-in-a-century deadly virus exacts a price on a prisoner beyond that imposed by an
     ordinary day in prison. While such conditions are not intended a punishment,
     incarceration in such circumstances is, unavoidably, experienced as more punishing.

Id. at 7. The court therefore determined that the seven months the defendant had “spent in prison

during COVID-19 offsets the need for him, in order to assure just punishment, to serve the next

five months in prison, as opposed to in less restrictive confinement.” Id. at 8. Similarly, the court

in United States v. Macfarlane, 438 F. Supp. 3d 125 (D. Mass. 2020), found that the defendant’s

“two-week confinement in solitary quarantine in a higher security facility is the equivalent of two

months in the Camp to which he was originally assigned.” Id. at 127. Cf. Stephen Rex Brown,

“NYC federal jail is so bad inmates get ‘time and a half’: Judge,” New York Daily News (May 24,

2021), available at https://www.nydailynews.com/new-york/ny-mcc-mdc-hard-time-20210524-

cwatz2asojglhm4cvjldbdx33e-story.html (reporting on Judge Oetken’s remarks at a sentencing

that “I do believe that because it’s been harsher than a usual period that it’s more punitive, that it’s



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essentially the equivalent of either time and a half or two times what would ordinarily be served

…. So I think having served 24 months is equivalent to having served three years.”); Stephen Rex

Brown & Noah Goldberg, “Brutal conditions in NYC jails during COVID pandemic caused federal

judges to impose lighter sentences: analysis,” New York Daily News (July 11, 2021), available at

https://www.nydailynews.com/new-york/ny-federal-judges-gave-lighter-sentences-nyc-jails-

covid-20210712-owlofn4wzngmfmcgb6raighkvq-story.html.

       Along with having served nearly half of his sentence, Mr. Binday has spent over 251 days

in harsh conditions of solitary confinement, in a higher security facility, due to quarantines

resulting from his medical condition. Moreover, each of Mr. Binday’s upcoming appointments

for his eye, cancer, and orthopedic treatment will result in an additional quarantine and solitary

confinement of at least 2½ weeks. While the circumstances here merit a grant of compassionate

release and a reduction of Mr. Binday’s sentence to time served, if the Court is not inclined to

reduce Mr. Binday’s sentence by that significant a degree, the Court should at least take into

account the harshness of the conditions in which Mr. Binday has served his sentence and reduce

his sentence to account for that. It is respectfully suggested that the Court should reduce Mr.

Binday’s sentence by eighteen to twenty-four months to account for the onerous conditions of

confinement Mr. Binday has experienced thus far. A sentence reduction of eighteen to twenty-

four months would effectively give Mr. Binday additional credit of approximately two days for

each day he has served or expects to serve under especially onerous terms of confinement.

       Further, if the Court determines that the term of incarceration Mr. Binday has already

served is inadequate to fulfill the punitive purposes of sentencing, the Court has the option to

impose special conditions of supervised release to address that, including home confinement. For

example, the court in United States v. Delgado, 457 F. Supp. 3d 85 (D. Conn. 2020), granted




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compassionate release to a medically vulnerable defendant who had served 29 months of a 120-

month sentence for conspiracy to distribute and to possess with intent to distribute five kilograms

or more of cocaine. Although the district court described the reduction of the Delgado defendant’s

sentence to time served as “not ideal,” the court recognized that his release was necessary to protect

his health. Id. at 92. The district court addressed this concern by ordering that the defendant would

be required to serve his term of supervised release on home incarceration. Id. at 93; see also United

States v. Rountree, 460 F. Supp. 3d 224, 228, 235, 241 (N.D.N.Y. 2020) (granting compassionate

release to career offender defendant with diabetes and hypertension who had served 85 months out

of a 188-month sentence; modifying terms of supervised release to require that the first two years

supervised release would be served on home confinement). While Mr. Binday does not believe

that such a modification of the terms of his supervised release is necessary here – he has served

significantly more time and a greater percentage of his sentence than the defendant in Delgado,

under harsher conditions – such a modification is available to the Court should the Court deem it

necessary to fulfill the purposes of sentencing.

       Should the Court reduce Mr. Binday’s sentence to time served, with or without imposing

a term of home confinement, the Court should further order that Mr. Binday serve any quarantine

period at home. He has already served a lengthy period of time in solitary confinement and should

not be required to serve any more time there than necessary.

       The Court should therefore hold that Mr. Binday’s release is consistent with public safety

and the statutory purposes of sentencing.

                                          CONCLUSION

       For these reasons, the Court should grant Mr. Binday compassionate release, and reduce

his sentence to time served.




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                                           Respectfully submitted,

                                           /s/ James E. Felman
                                           James E. Felman



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 25, 2021, the foregoing has been filed with the Clerk

of Court through the CM/ECF System which will send a notice of electronic filing to all counsel

of record.


                                           /s/ James E. Felman
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